   Case: 23-50668   Document: 125-1   Page: 1    Date Filed: 11/17/2023




                           No. 23-50668


       IN THE UNITED STATES COURT OF APPEALS
               FOR THE FIFTH CIRCUIT


BOOK PEOPLE, INCORPORATED; VBK, INCORPORATED DOING BUSINESS AS
  BLUE WILLOW BOOKSHOP; ASSOCIATION OF AMERICAN PUBLISHERS;
 AUTHORS GUILD, INCORPORATED; COMIC BOOK LEGAL DEFENSE FUND;
              AMERICAN BOOKSELLERS ASSOCIATION,

                                                    Plaintiffs-Appellees,
                                 v.

MARTHA WONG, IN HER OFFICIAL CAPACITY AS THE CHAIR OF THE TEXAS
  STATE LIBRARY AND ARCHIVES COMMISSION; KEVIN ELLIS, IN HIS
  OFFICIAL CAPACITY AS THE CHAIR OF THE TEXAS STATE BOARD OF
   EDUCATION; MIKE MORATH, IN HIS OFFICIAL CAPACITY AS THE
        COMMISSIONER OF THE TEXAS EDUCATION AGENCY,

                                                Defendants-Appellants.


         On Appeal from the United States District Court
        for the Western Division of Texas, Austin Division
                       1:23-cv-00858-ADA


    BRIEF OF AMICI CURIAE FREEDOM TO READ FOUNDATION,
     AND AMERICAN ASSOCIATION OF SCHOOL LIBRARIANS
         IN SUPPORT OF APPELLEES AND AFFIRMANCE



                    (Counsel Listed Inside Cover)
    Case: 23-50668   Document: 125-1   Page: 2   Date Filed: 11/17/2023




Ryan W. Goellner        Thomas F. Allen, Jr.      Kevin Shook
FROST BROWN TODD        Benjamin A. West          FROST BROWN TODD
LLP                     FROST BROWN TODD          LLP
301 E. Fourth Street    LLP                       10 W. Broad Street
Cincinnati, Ohio        2101 Cedar Springs        Suite 2300
45202                   Rd. Suite 900             Columbus, Ohio
T: (513) 651-6840       Dallas, Texas 75201       43215
F: (513) 651-6981       T: (214) 545-3472         T: (614) 464-1211
rgoellner@fbtlaw.com    F: (214) 545-3473         F: (614) 464-1737
                        tfallen@fbtlaw.com        kshook@fbtlaw.com
                        bwest@fbtlaw.com

       Counsel for Amici Curiae Freedom to Read Foundation
          and American Association of School Librarians




                                   i
      Case: 23-50668   Document: 125-1    Page: 3   Date Filed: 11/17/2023




 SUPPLEMENTAL CERTIFICATE OF INTERESTED PERSONS

                Case No. 23-50668, Book People v. Wong

     Pursuant to 5TH CIR. RULES 28.2.1 and 29.2, I hereby certify that I

am aware of no persons or entities, in addition to those listed in the party

briefs, that have a financial interest in the outcome of this litigation. I

certify that the Freedom to Read Foundation (FTRF) is a not-for-profit

organization under Section 501(c)(3) of the Internal Revenue Code; and

that FTRF, as a not-for-profit organization, has no parent corporation or

stock, and therefore no publicly owned corporation owns ten percent or

more of its stock. I certify that the American Association of School

Librarians (AASL) is a not-for-profit organization and a division of the

American Library Association, which is a not-for-profit organization

under Section 501(c)(3) of the Internal Revenue Code; and that AASL, as

a not-for-profit organization, has no parent corporation or stock, and

therefore no publicly owned corporation owns ten percent or more of its

stock. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.


                                   s/ Thomas F. Allen, Jr.
                                   Thomas F. Allen, Jr.



                                     ii
        Case: 23-50668           Document: 125-1           Page: 4       Date Filed: 11/17/2023




                                   TABLE OF CONTENTS

                                                                                                      Page
Supplemental Certificate of Interested Persons ......................................ii

Table of Contents .................................................................................... iii

Table of Authorities ................................................................................... v

Statement of Interest of Amici Curiae ...................................................... 1

Statement of Contributions....................................................................... 3

Introduction ............................................................................................... 4

Argument ................................................................................................... 6

I.      School libraries provide students access to a diversity of ideas
        and prepare an informed citizenry. ................................................. 6

        A.      Public school libraries are not merely extensions of the
                classroom but are havens for independent student
                inquiry. .................................................................................... 6

        B.      Public school librarians are trained to facilitate this
                inquiry without state-imposed labels. .................................... 8

                1.       School librarians must meet rigorous academic
                         standards. ....................................................................... 9

                2.       School librarians must comply with canons of ethics. 10

II.     H.B. 900 negates the crucial role of school libraries and
        librarians. ....................................................................................... 14

        A.      H.B. 900’s vague labeling system violates the mission of
                the school library. .................................................................. 14




                                                     iii
        Case: 23-50668           Document: 125-1          Page: 5       Date Filed: 11/17/2023




        B.      H.B. 900’s one-size-fits-all mechanism is incompatible
                with the informative and educational mission of school
                libraries across a large and diverse state. ............................ 17

III.    Appellants’ First Amendment analysis is flawed. ......................... 21

        A.      State efforts to remove books from school library shelves
                must comply with the First Amendment.............................. 21

        B.      H.B. 900’s labeling system is not “government speech.” ...... 23

        C.      Forum analysis of school libraries is inapplicable because
                H.B. 900 imposes limitations on private vendors, not
                curriculum or student expression. ........................................ 24

Conclusion ............................................................................................... 27

Certificate of Compliance ........................................................................ 29

Certificate of Service ............................................................................... 30




                                                     iv
        Case: 23-50668         Document: 125-1         Page: 6      Date Filed: 11/17/2023




                              TABLE OF AUTHORITIES

Cases                                                                                      Page(s)

Bantam Books v. Sullivan,
  372 U.S. 58 (1963) ............................................................................... 24

Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico,
  457 U.S. 853 (1982) ............................................................... 7, 8, 20, 21

Bethel School District No. 403 v. Fraser,
  478 U.S. 675 (1986) ....................................................................... 24, 25

Brown v. Ent. Merchs. Ass’n,
  564 U.S. 786 (2011) ................................................................. 15, 22, 23

Campbell v. St. Tammany Parish School Bd.,
  64 F.3d 184 (5th Cir. 1995) ................................................. 7, 21, 22, 24

Chiras v. Miller,
  432 F.3d 606 (5th Cir. 2005) ............................................................... 23

Engdahl v. City of Kenosha,
  317 F. Supp. 1133 (E.D. Pa. 1970)...................................................... 24

Erznoznik v. Jacksonville,
  422 U.S. 205 (1975) ............................................................................. 23

Grove Press, Inc. v. Gerstein,
  378 U.S. 577 (1964) ............................................................................. 16

Hazelwood School District v. Kuhlmeier,
  484 U.S. 260 (1988) ....................................................................... 24, 25

Hobbs v. Hawkins,
  968 F.2d 471 (5th Cir. 1992) ............................................................... 26

Jacobellis v. Ohio,
  378 U.S. 577 (1964) ............................................................................. 16

Keyishian v. Bd. of Regents,
  385 U.S. 589 (1967) ............................................................................... 7

                                                  v
        Case: 23-50668         Document: 125-1         Page: 7      Date Filed: 11/17/2023




Kleindienst v. Mandel,
  408 U.S. 753 (1972) ............................................................................... 7

Miller v. California,
  413 U.S. 15 (1973) ............................................................................... 15

Red Lion Broad. Co. v. FCC,
  395 U.S. 367 (1969) ............................................................................... 7

Rosenberger v. Rector & Visitors of Univ. of Va.,
  515 U.S. 819 (1995) ............................................................................. 26

Tinker v. Des Moines Indep. Cmty. Sch. Dist.,
  393 U.S. 503 (1969) ........................................................................... 6, 7

Statutes

TEX. EDUC. CODE § 33.021 ................................................................... 4, 15

TEX. EDUC. CODE § 35.001 ............................................................... passim

TEX. EDUC. CODE § 35.002 ....................................................... 4, 15, 22, 26

TEX. EDUC. CODE § 35.005 ................................................................... 4, 15

TEX. PENAL CODE § 43.21......................................................................... 15

TEX. PENAL CODE § 43.25(a)(2) ...................................................... 4, 15, 16

Other Authorities

13 TEX. ADMIN. CODE § 1.84 ...................................................................... 9

19 TEX. ADMIN. CODE § 239.40(a) ...................................................... 10, 18

19 TEX. ADMIN. CODE § 239.55 .................................................................. 9

19 TEX. ADMIN. CODE § 239.60 ................................................................ 10




                                                  vi
        Case: 23-50668         Document: 125-1          Page: 8      Date Filed: 11/17/2023




AASL Standards Framework for Learners,
  AM. ASS'N OF SCH. LIBRARIANS,
  https://standards.aasl.org/wp-content/uploads/2017/11/AASL-
  Standards-Framework-for-Learners-pamphlet.pdf (last visited
  Nov. 10, 2023). .................................................................................... 13

Access to Resources and Services in the School Library: An
  Interpretation of the Library Bill of Rights,
  AM. LIBR. ASS'N,
  https://www.ala.org/advocacy/intfreedom/librarybill/interpretati
  ons/accessresources#:~:text=The%20school%20library%20plays
  %20a,needed%20in%20a%20pluralistic%20society (last visited
  Nov. 10, 2023). .............................................................................. 12, 13

Accreditation Frequently Asked Questions,
  AM. LIBR. ASS’N,
  https://www.ala.org/educationcareers/accreditedprograms/faq
  (last visited Nov. 16, 2023) ................................................................. 10

AM. LIBR. ASS’N CODE OF ETHICS,
  https://www.ala.org/tools/ethics (last visited Nov. 16, 2023) ....... 10, 11

AM. LIBR. ASS'N LIBRARY BILL OF RIGHTS,
  https://www.ala.org/advocacy/intfreedom/librarybill (last visited
  Nov. 10, 2023). ........................................................................ 11, 12, 18

JUDY BLUME, THEN AGAIN, MAYBE I WON’T (1971).................................. 16

Crosswalk of the Common Core Standards and the Standards for
  the 21st-Century Learner,
  AM. ASS'N OF SCH. LIBRARIANS,
  https://www.ala.org/aasl/sites/ala.org.aasl/files/content/guidelin
  esandstandards/commoncorecrosswalk/pdf/ReadingLitSciAllSta
  ndards.pdf (last visited Nov. 10, 2023)............................................... 19

Diverse Collections: An Interpretation of the Library Bill of Rights,
  AM. LIBR. ASS'N,
  https://www.ala.org/advocacy/intfreedom/librarybill/interpretati
  ons/diversecollections (last visited Nov. 10, 2023). ............................ 13



                                                  vii
        Case: 23-50668           Document: 125-1           Page: 9      Date Filed: 11/17/2023




HENRY MILLER, THE TROPIC OF CANCER (1934) ....................................... 16

Pocket Edition, 2021-22 Texas Public School Statistics,
  TEX. EDUC. AGENCY,
  https://tea.texas.gov/about-tea/news-and-
  multimedia/2022teapocketedition.pdf (last visited Nov. 10,
  2023). ............................................................................................. 17, 18

School Library Programs: Standards and Guidelines for Texas,
  TEX. STATE LIBRARY AND ARCHIVES COMM'N,
  https://www.tsl.texas.gov/sites/default/files/public/tslac/ld/schoo
  llibs/sls/Texas%20School%20Library%20Standards%20E-
  Version%20FINAL.pdf (revised Aug. 2017). ........................ 8, 9, 18, 21




                                                    viii
     Case: 23-50668   Document: 125-1   Page: 10   Date Filed: 11/17/2023




         STATEMENT OF INTEREST OF AMICI CURIAE

     The Freedom to Read Foundation (FTRF) is an organization

established to foster libraries as institutions that fulfill the promise of

the First Amendment; support the rights of libraries to include in their

collections and make available to the public any work they may legally

acquire; establish legal precedent for the freedom to read of all citizens;

protect the public against efforts to suppress or censor speech; and

support the right of libraries to collect and individuals to access

information that reflects the diverse voices of a community so that every

individual can see themselves reflected in the library’s materials and

resources.

     The American Association of School Librarians (AASL) is the

preeminent national professional association for school librarians. All

aspects of the association’s work reflect its core values: learning;

innovation; equity; diversity; inclusion; intellectual freedom; and

collaboration. The AASL National School Library Standards (2018)

provide that the role of the school librarian is to work with students to

ensure they can independently evaluate resources and make responsible

and ethical decisions regarding the use of these resources to develop



                                    1
     Case: 23-50668      Document: 125-1   Page: 11   Date Filed: 11/17/2023




critical thinking and learning skills. AASL is committed to ensuring that

all learners have a school library collection that is physically and

intellectually accessible and where access is best met at the time of need.

AASL is a partner with school administrators and national educational

organizations in advocating for and shaping educational opportunities

and policy.

         FTRF and AASL believe that content or viewpoint censorship

violates the core value of preserving intellectual freedom and thus have

a strong interest in the outcome of this case.

         Appellants and Appellees consent to the filing of this amici curiae

brief.




                                       2
     Case: 23-50668   Document: 125-1   Page: 12   Date Filed: 11/17/2023




                STATEMENT OF CONTRIBUTIONS

     Pursuant to Rule 29(a) of the Federal Rules of Appellate Procedure,

FTRF and AASL state that no party’s counsel authored the brief in whole

or in part; no party or party’s counsel contributed money that was

intended to fund preparing or submitting the brief; and no person (other

than the amici curiae, their members, or their counsel) contributed

money that was intended to fund preparing or submitting this brief.




                                    3
        Case: 23-50668      Document: 125-1    Page: 13   Date Filed: 11/17/2023




                                 INTRODUCTION

        The impact of House Bill 900 (“HB 900”)1 is far-reaching. H.B. 900

commandeers book vendors to rate all books sold to Texas school libraries

in three categories: “sexually explicit,” “sexually relevant,” or “no

rating.”2 Materials that a vendor has labeled “sexually explicit”—a term

that draws its meaning from the Texas Penal Code—may not be sold to

school libraries and must be eliminated from school library shelves.3 For

any materials that a vendor has labeled “sexually relevant,” the school

librarian must obtain parental consent before allowing a student to

access the book.4

        Appellants argue that H.B. 900 is simply an innocuous mechanism

to protect school children from “sexually explicit materials.”5 But as the

district court recognized, H.B. 900 goes much further, implicating

potentially “any sexual-related topic.”6           The statute offers no “bright



188th Leg., R.S., ch. 88, 2023 Tex. Sess. Law Serv. 2539 (H.B. 900), codified at TEX.
EDUC. CODE §§ 33.021, 35.001-35.008.
2   TEX. EDUC. CODE §§ 35.001, 35.002.
3   TEX. EDUC. CODE §§ 33.021(a), 35.001(2), 35.002(b).
4   TEX. EDUC. CODE § 35.005.
5   Appellants’ Br. at 3.
6   ROA.704 (Op. at 5 n.1 (citing TEX. PENAL CODE § 43.25(a)(2))).


                                           4
       Case: 23-50668   Document: 125-1   Page: 14   Date Filed: 11/17/2023




line[s]” to guide vendors in labeling books—a judgment call for which

they likely have no training.7

       Fortunately, there are people already equipped to make these calls:

public    school   librarians.   School   librarians   are    highly    trained

professionals. They complete rigorous academic instruction and follow

canons of ethics that guide the creation (and ongoing curation) of school

library collections. By virtue of their training and professional standards,

school librarians are uniquely qualified to select materials that satisfy

the needs of all students in a particular community, not just those that

reflect popular―or politically favorable―views and opinions. Librarians

do not need state-imposed labels to do their jobs.

       H.B. 900 is therefore unnecessary and unwise. It is also

incompatible with the First Amendment. In addition to compelling

speech by book vendors, H.B. 900 will undoubtedly result in denuded

school library collections, stripped of materials that bear no resemblance

to obscene or even “sexually explicit” materials.          Because H.B. 900

unconstitutionally burdens the First Amendment rights of both book




7   ROA.704.


                                      5
      Case: 23-50668    Document: 125-1     Page: 15   Date Filed: 11/17/2023




vendors and school students, the Court should affirm the district court’s

injunction against the statute.

                                 ARGUMENT

I.    School libraries provide students access to a diversity of
      ideas and prepare an informed citizenry.

      H.B. 900 will impact not only books vendors, but also school

libraries and students across Texas. As library organizations, amici

highlight the unique role of school libraries, which both the First

Amendment and Texas law recognize.

      A.    Public school libraries are not merely extensions of the
            classroom but are havens for independent student
            inquiry.

      More than 50 years ago, the U.S. Supreme Court famously observed

that public school students do not “shed their constitutional rights to

freedom of speech or expression at the schoolhouse gate.”8                       A

student’s right to read a book is an aspect of the “right to receive

information and ideas,” which is an “inherent corollary of the rights of




8 Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 506 (1969) (plurality
op.).


                                        6
        Case: 23-50668        Document: 125-1    Page: 16   Date Filed: 11/17/2023




free speech and press that are explicitly guaranteed by the

Constitution.”9

        “[T]he principal locus of [that] freedom” is the public school

library.10     Far from a mere “public interest program,” as Appellants

contend,11 the school library plays a “unique role” in the education of

students.12 “[B]eyond the compulsory environment of the classroom,” the

school library offers a “regime of voluntary inquiry,” where students

“must always remain free to inquire, to study, and to evaluate, to gain

new maturity and understanding.”13 School libraries are not intended to

“foster a homogenous people,” but to expose students to diverse

information and ideas that ready them to be the next generation of “an

informed citizenry.”14 Thus, “[t]he special characteristics of the school


9 Id. at 867; see also Kleindienst v. Mandel, 408 U.S. 753, 763 (1972) (“This Court has
recognized that this right is ‘nowhere more vital’ than in our schools and
universities.”); Red Lion Broad. Co. v. FCC, 395 U.S. 367, 390 (1969) (“It is the right
of the public to receive suitable access to social, political, esthetic, moral, and other
ideas and experiences which is crucial here.”).
10 Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 868-
69 (1982) (plurality op.). Appellants do not dispute that in Campbell v. St. Tammany
Parish School Bd., 64 F.3d 184, 188-89 (5th Cir. 1995), this Court followed the
plurality opinion in Pico. (See Appellants’ Br. at 34.)
11   Appellants’ Br. at 33.
12   Pico, 457 U.S. at 869.
13   Id. at 868-69 (quoting Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967)).
14   Id. at 876-77 (Blackmun, J., concurring).


                                            7
           Case: 23-50668    Document: 125-1     Page: 17    Date Filed: 11/17/2023




library make that environment especially appropriate for the recognition

of the First Amendment rights of students.”15

           Texas law mirrors this understanding of the school library’s

“unique role.” In 1995 the Texas Legislature directed the Texas State

Library and Archives Commission, in conjunction with the Texas

Education Agency, to adopt “Standards and Guidelines” for school library

services.16 First published in 1997 and revised as recently as 2017, these

standards and guidelines clearly articulate the role of Texas school

libraries: “essential interactive collaborative learning environments, ever

evolving to provide equitable physical and virtual access to ideas,

information,           and     learning        tools   for    the     entire    school

community.”17

           B.    Public school librarians are trained to facilitate this
                 inquiry without state-imposed labels.

           It is the professional duty of the public school librarian to create

this environment of learning and inquiry. As recognized by the Texas


15   Id.
16 School Library Programs: Standards and Guidelines for Texas, TEX. STATE
LIBRARY AND ARCHIVES COMM’N,
https://www.tsl.texas.gov/sites/default/files/public/tslac/ld/schoollibs/sls/Texas%20Sc
hool%20Library%20Standards%20E-Version%20FINAL.pdf (revised Aug. 2017).
17   Id. at 5 (emphasis added).


                                           8
        Case: 23-50668       Document: 125-1   Page: 18   Date Filed: 11/17/2023




“Standards and Guidelines,” school librarians and staff should “nurture

a culture of literacy and inquiry throughout the school community,”

while       “maintain[ing]         a    professionally     developed       collection

of . . . materials and assist[ing] learners in locating resources that match

their academic and personal interests.”18                  Outside of classroom

instruction, librarians facilitate “independent learning” and “leisure

reading” by directing students to “a variety of fiction and non-fiction

resources for personal and informational needs.”19 In short, “librarians

are teachers” and “[a]n integral part of instructional teams.”20

              1.     School librarians must meet rigorous academic
                     standards.

        Librarians are specifically trained to carry out this important role.

In Texas, for example, a professional librarian is defined as someone who

holds a specialized degree in librarianship from an educational

institution accredited by the American Library Association (ALA).21 The

ALA accredits 68 programs at 64 institutions in the United States,



18   Id. (emphasis added).
19   19 TEX. ADMIN. CODE § 239.55.
20   School Library Programs: Standards and Guidelines for Texas, TEX. STATE LIBR.
AND ARCHIVES COMM’N, supra n. 16, at 5.
21   See 13 TEX. ADMIN. CODE § 1.84.


                                           9
           Case: 23-50668   Document: 125-1    Page: 19   Date Filed: 11/17/2023




Canada, and Puerto Rico.22 Accreditation “assures that . . . programs

meet appropriate standards of quality and integrity.”23

           Moreover, “each candidate for the School Librarian Certificate”

must be “of the highest caliber and possesses the knowledge and skills

necessary to improve the performance of the diverse student

population of this state.”24 Therefore, school librarians must―“at a

minimum”―hold a master’s degree and have two years’ teaching

experience, as well as satisfy other requirements.25

                 2.    School librarians must comply with canons of
                       ethics.

           As part of their training, librarians agree to adhere to canons of

ethics, which encourage the cultivation of collections with diverse

viewpoints and content. The ALA’s Code of Ethics “guide[s] the work of

librarians” with a focus on “the values of intellectual freedom that define

the profession of librarianship.”26 Chief among these ethical obligations


22 See Accreditation Frequently Asked Questions, AM. LIBR. ASS’N,
https://www.ala.org/educationcareers/accreditedprograms/faq (last visited Nov. 16,
2023).
23   Id.
24   19 TEX. ADMIN. CODE § 239.40(a) (emphasis added).
25   19 TEX. ADMIN. CODE § 239.60.
26AM. LIBR. ASS’N CODE OF ETHICS, https://www.ala.org/tools/ethics (last visited Nov.
16, 2023).


                                          10
        Case: 23-50668     Document: 125-1    Page: 20   Date Filed: 11/17/2023




is the librarian’s duty not to limit access to information based on

viewpoint:

               1.    We provide the highest level of service to all
                     library users through appropriate and usefully
                     organized resources; equitable service policies;
                     equitable access; and accurate, unbiased, and
                     courteous responses to all requests.

               2.    We uphold the principles of intellectual freedom
                     and resist all efforts to censor library resources.

               ***

               6.    We do not advance private interests at the expense
                     of library users, colleagues, or our employing
                     institutions.

               7.    We distinguish between our personal convictions
                     and professional duties and do not allow our
                     personal beliefs to interfere with fair
                     representation of the aims of our institutions or
                     the provision of access to their information
                     resources.27

        Librarians are also guided by the Library Bill of Rights, which sets

forth the “basic policies [that] should guide [library] services.”28 Like the

Code of Ethics, the Library Bill of Rights is unequivocal in its




27   Id. ¶¶ 1-2, 6-7 (emphasis added).
28 AM. LIBR. ASS’N LIBRARY BILL OF RIGHTS (preamble),
https://www.ala.org/advocacy/intfreedom/librarybill (last visited Nov. 10, 2023).


                                         11
           Case: 23-50668   Document: 125-1    Page: 21   Date Filed: 11/17/2023




condemnation of censorship and other attempts to limit information

based on viewpoint or preference:

           Libraries should provide materials and information
           presenting all points of view on current and historical
           issues. Materials should not be proscribed or removed
           because of partisan or doctrinal disapproval.

           Libraries should challenge censorship in the fulfillment of
           their   responsibility  to   provide    information    and
           enlightenment.29


These policies “apply equally to all libraries, including school libraries.”30

           The school library “serves as a point of voluntary access to

information and ideas and as a learning laboratory for students as they

acquire critical thinking and problem-solving skills needed in a

pluralistic society.”31 This is consistent with the views of the Supreme

Court, this Court, and Texas law, as noted above. The criteria for

selection of materials for school libraries should be “unfettered by . . .

personal, political, social, or religious views” so that “[s]tudents and

educators served by the school library have access to resources and


29   Id. §§ II, III (emphasis added).
30 Access to Resources and Services in the School Library: An Interpretation of the
Library Bill of Rights, AM. LIBR. ASS’N,
https://www.ala.org/advocacy/intfreedom/librarybill/interpretations/accessresources
#:~:text=The%20school%20library%20plays%20a,needed%20in%20a%20pluralistic
%20society (last visited Nov. 10, 2023).
31   Id.


                                          12
           Case: 23-50668   Document: 125-1    Page: 22   Date Filed: 11/17/2023




services free of constraints resulting from personal, partisan, or doctrinal

disapproval.”32

           In this vein, the American Association of School Libraries (AASL),

an amicus curiae here, follows the National School Library Standards,

which establish the librarian’s role in teaching essential skills for

students that are particularly appropriate to developing critical thinkers

and learners, and emphasize the importance of the school library as an

essential part of the learning community that prepares students for

college, career, and life.33

           Guided by these principles, school librarians are trained to curate

collections in an inclusive, not exclusive, process.34 School librarians do

not exclude materials because they are controversial or represent a

viewpoint with which they may disagree, but include books that reflect a

diversity of political, economic, religious, and social issues.35



32   Id.
33 AASL Standards Framework for Learners, AM. ASS’N OF SCH. LIBRARIANS,
https://standards.aasl.org/wp-content/uploads/2017/11/AASL-Standards-
Framework-for-Learners-pamphlet.pdf (last visited Nov. 10, 2023).
34 Diverse Collections: An Interpretation of the Library Bill of Rights, AM. LIBR.
ASS’N, https://www.ala.org/advocacy/intfreedom/librarybill/interpretations/diverseco
llections (last visited Nov. 10, 2023).
35   Id.


                                          13
      Case: 23-50668   Document: 125-1    Page: 23   Date Filed: 11/17/2023




      It is this training that prepares school librarians to deliver on the

promise of the First Amendment, providing students access to diverse,

developmentally appropriate materials, without state-imposed labels

excluding swaths of books based on amorphous and subjective criteria.

II.   H.B. 900 negates the crucial role of school libraries and
      librarians.

      In the name of protecting children, H.B. 900’s rating system

supplants the role of professional school librarians and drafts unwilling

replacements: book vendors who lack the comprehensive education and

training discussed above. As a result, the Texas school library will likely

become a decidedly lesser “locus” for free intellectual and personal

inquiry.

      A.    H.B. 900’s vague labeling system violates the mission of
            the school library.

      The imposition of a private rating system or content-based labeling

system on books and other materials stands in sharp conflict with the

historical function and mission of public school libraries—to provide a

wide diversity of materials to students based on their developmental

maturity.




                                     14
        Case: 23-50668    Document: 125-1      Page: 24   Date Filed: 11/17/2023




        As noted, H.B. 900 requires private vendors to rate books as

“sexually explicit” or “sexually relevant.”36             Any materials that are

labeled “sexually explicit” may not be sold to school libraries and

librarians are required to obtain parental consent for students to read

books rated “sexually relevant.”37             H.B. 900’s definition of “sexually

relevant” includes anything “that describes, depicts, or portrays sexual

conduct. . . .”38

        These vague criteria simply beg the question of what is sexually

“explicit” or even “relevant.”        For example, both the decidedly adult

novels of Henry Miller and certain novels by the children’s author Judy



36 TEX. EDUC. CODE §§ 35.001, 35.002. These terms are defined in part in the Texas
Penal Code. See TEX. PENAL CODE §§ 43.21, 43.25(a)(2); see also TEX. EDUC. CODE
§ 33.021.
As the district court correctly noted, HB 900’s definition of “sexually explicit” is not
only vague, but also conflicts with the Supreme Court’s definition of “obscenity” in
Miller v. California, 413 U.S. 15 (1973). H.B. 900 “cherry-picks the definition of
‘patently offensive’ from [the Miller] test,” but “notably excludes the third
prong…whether the material ‘taken as a whole, lacks serious literary, artistic,
political, and scientific value.’” ROA.742-43 (Op. at 43-44 (quoting Miller, 413 U.S.
at 24)).
H.B. 900’s silence regarding these countervailing “value” criteria is telling. As
discussed below, the First Amendment forbids most laws enacted “solely to protect
the young from [non-obscene] ideas or images that a legislative body thinks
unsuitable for them.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 794-95 (2011)
(cleaned up).
37   TEX. EDUC. CODE §§ 35.001, 35.005.
38   Id. § 35.001(3).


                                          15
        Case: 23-50668    Document: 125-1     Page: 25   Date Filed: 11/17/2023




Blume might meet the Texas Penal Code’s definition of “sexual

conduct.”39

        It is within the school librarian’s proverbial wheelhouse to

distinguish between such titles. Rather than consulting the Texas Penal

Code, school librarians draw on their training and ethical canons to

choose a particular book. So, while The Tropic of Cancer will likely not

find a place on the shelf of a middle-school library (even though the U.S.

Supreme Court has held that it is not obscene40), the librarian may

determine that Judy Blume’s novel should be available to students of the

same age in that community. But a risk-averse vendor, reluctant to

jeopardize their business with the Texas school libraries, might simply

label both novels as “sexually explicit” or “sexually relevant,” thereby

eliminating them from the library.

        The consequences of this regime are troubling. H.B. 900’s rating

system does not simply provide information. It constrains student access


39   See TEX. PENAL CODE § 43.25(a)(2). Compare generally HENRY MILLER, THE TROPIC
OF CANCER (1934) (sexuality-themed profanity and descriptions of sexual conduct),
with JUDY BLUME, THEN AGAIN, MAYBE I WON’T (1971) (descriptions of puberty and
adolescent sexuality).
40 See Grove Press, Inc. v. Gerstein, 378 U.S. 577 (1964) (granting certiorari and

reversing judgment enjoining book dealer from selling or distributing The Tropic of
Cancer under Florida’s obscenity laws, in accordance with Jacobellis v. Ohio, 378 U.S.
577 (1964)).


                                         16
     Case: 23-50668     Document: 125-1     Page: 26   Date Filed: 11/17/2023




to books—which are neither obscene nor even “vulgar”—by restricting

purchases of that book by school libraries or by restricting access through

a parental-notification requirement, based solely on the judgment of a

book vendor. And the basis for that labeling decision may not be a

professional judgment about whether students of a certain age in a

certain community are mature enough to have access to a particular

book, but rather on whether applying a certain label will result in a loss

of sales, now or in the future.

      B.    H.B. 900’s one-size-fits-all mechanism is incompatible
            with the informative and educational mission of school
            libraries across a large and diverse state.

      H.B. 900 also makes no allowances for the local needs and interests

of different communities. Texas is a vast state, with over 1,100 public

districts, incorporating more than 8,000 campuses.41 And, just as the

landscape of Texas varies greatly statewide, so too do the scope, needs,

and interests of public school students. While more than half of Texas

students attend school in large, urban districts boasting student




41  Pocket Edition, 2021-22 Texas Public School Statistics, TEX. EDUC. AGENCY,
https://tea.texas.gov/about-tea/news-and-multimedia/2022teapocketedition.pdf (last
visited Nov. 10, 2023).


                                       17
           Case: 23-50668   Document: 125-1    Page: 27   Date Filed: 11/17/2023




populations greater than 25,000, the majority of school districts serve

populations of fewer than 1,000 students.42

           Throughout Texas, school librarians―with their direct, day-to-day

contact with their students―use state-mandated training and expertise

to tailor each library’s collection to the needs and interests of the diverse

communities they serve. As noted above, the Texas Legislature has

recognized that an essential component of the school librarian is

possession of “the knowledge and skills necessary to improve the

performance of the diverse student population of this state.”43

           To cultivate “a culture of literacy and inquiry” and facilitate “access

to ideas, information, and learning tools for the entire school community,”

librarians make professional judgments about which books may serve

“the academic and personal interests” of the students in their

community.44 Under the standards of the profession, a library’s books

and resources “should be provided for the interest, information, and

enlightenment of all people in the community” it serves.45

42   Id.
43   19 TEX. ADMIN. CODE § 239.40(a) (emphasis added).
44   School Library Programs: Standards and Guidelines for Texas, TEX. STATE LIBR.
AND ARCHIVES COMM’N, supra n. 16, at 5.
45   LIBRARY BILL OF RIGHTS § I (emphasis added), supra n. 28.


                                          18
      Case: 23-50668     Document: 125-1     Page: 28   Date Filed: 11/17/2023




      Similarly, the AASL offers specific guidelines for school librarians,

with the goal of encouraging students to “[c]onsider diverse and global

perspectives in drawing conclusions” so that they can better “[m]ake

sense of information gathered from diverse sources by identifying

misconceptions, main and supporting ideas, conflicting information, and

point of view or bias.”46

      What may be of academic and personal interest to students in a

rural community may differ from those in a large, urban community.

Again, librarians who work directly in these different populations are

uniquely equipped to make these calls; book vendors are not. But by

establishing a “ratings” standard that forces book access across the state

to be identical, H.B. 900 erases the crucial role these librarians play in

their communities. H.B. 900 substitutes the legislature’s judgment over

that of the trained librarians who use their expertise to determine the

needs and interests―both academic and personal―of students in their

own schools.




46 Crosswalk of the Common Core Standards and the Standards for the 21st-
Century Learner at 2 & 7, AM. ASS’N OF SCH. LIBRARIANS,
https://www.ala.org/aasl/sites/ala.org.aasl/files/content/guidelinesandstandards/com
moncorecrosswalk/pdf/ReadingLitSciAllStandards.pdf (last visited Nov. 10, 2023).


                                        19
      Case: 23-50668      Document: 125-1       Page: 29   Date Filed: 11/17/2023




      Through its rating system, H.B. 900 will deprive students of access

to diverse collections―directly curated by trained educators in their

community―and          restrict     students      from     encountering        differing

viewpoints     and     expanding      their     knowledge      base,    even    in   an

extracurricular space. It is no answer to say that students may buy books

elsewhere. School libraries exist in part so that students without

transportation to other libraries or money to purchase books may still

have access to a diverse collection of material.47

      If the Texas Legislature can impose these restrictions on books

before they are available to school libraries, there is seemingly little that

would stop it from later imposing ratings on (and thus regulating) books

dealing with other “controversial” topics, such as differing religious,

cultural, or political ideologies. Mandates of this type directly contradict

the intent of Texas school libraries, which are to serve as “essential,

safe, and inviting centers for teaching and learning,” and to “support




47 See Pico, 457 U.S. at 881 (Blackmun, J., concurring) (“surely difficult constitutional

problems would arise if a State chose to exclude ‘anti-American’ books from its public
libraries—even if those books remained available at local bookstores”).


                                           20
        Case: 23-50668      Document: 125-1       Page: 30   Date Filed: 11/17/2023




reading for learning and pleasure, which are essential skills for

college and career readiness and life.”48

III. Appellants’ First Amendment analysis is flawed.

        While Texas school students are not plaintiffs in this action,

H.B. 900 will nonetheless impact their First Amendment rights, as well

as those of the plaintiff-vendors.

        A.     State efforts to remove books from school library
               shelves must comply with the First Amendment.

        By virtue of their “unique role,” school libraries enjoy greater First

Amendment protection from state intrusion than matters of school

curriculum. As this Court has recognized, while “educators’ decisions

regarding curricular matters” are entitled to a “high degree of deference,”

any deference “diminishes when the challenged decision involves a

noncurricular matter.”49 So, state officials “may not remove books from

their school libraries . . . ‘simply because they dislike the ideas contained

in those books.’”50




48 School Library Programs: Standards and Guidelines for Texas at 5, supra n. 16
(emphasis added).
49   Campbell, 64 F.3d at 188 (citing Pico, 457 U.S. at 868-70).
50   Id. (quoting Pico, 457 U.S. at 872)).


                                             21
        Case: 23-50668     Document: 125-1       Page: 31    Date Filed: 11/17/2023




        H.B. 900 strikes at the heart of the school library’s mission by

targeting the books on the library shelves, which are non-curricular

materials.51 The statute expressly exempts materials like textbooks that

are “directly related to the curriculum” required by state law.52 Thus, as

discussed above, H.B. 900 seeks to place limitations on non-curriculum

material based on two vague criteria―“sexually explicit material” and

“sexually relevant material”―with the applicability of those labels

determined not by experienced, trained professionals, but by third-party

vendors.53

        While the State “possesses legitimate power to protect children

from harm,” those children are also “entitled to a significant measure of

First Amendment protection.”54 “Speech that is neither obscene as to

youths nor subject to some other legitimate proscription cannot be

suppressed solely to protect the young from ideas or images that a




51 Id. at 190 (“in light of the special role of the school library as a place where students

may freely and voluntarily explore diverse topics,” the removal of a book is a “non-
curricular decision.”).
52   TEX. EDUC. CODE § 35.001(3).
53   TEX. EDUC. CODE § 35.002(a).
54   Brown, 564 U.S. at 794-95 (cleaned up).


                                            22
        Case: 23-50668      Document: 125-1     Page: 32   Date Filed: 11/17/2023




legislative body thinks unsuitable for them.”55                By imposing speech

restrictions on book vendors, H.B. 900 threatens the First Amendment

rights of both the plaintiff vendors who are selling the books and the end

consumers of those books, the students.

        B.     H.B. 900’s labeling system is not “government speech.”

        Appellants contend that H.B. 900 does not implicate the First

Amendment because it mandates a book rating system that is

“government speech.”56 In doing so, Appellants no longer rely on this

Court’s opinion in Chiras v. Miller,57 and instead argue that the H.B. 900

required labels are no different than “product labels” on movies, TV

shows, or games.58

        But H.B. 900’s labels are not safety warnings to the public at large.

Nor are they voluntary, non-government ratings like those for movies or

television, as Appellees point out.59 Instead, the H.B. 900 labels are

restrictions on whether books may be placed—or kept—on school library



55   Id. at 794-95 (quoting Erznoznik v. Jacksonville, 422 U.S. 205, 213-214 (1975)).
56   Appellants’ Br. at 34-37.
57 432 F.3d 606 (5th Cir. 2005). In fact, Appellants do not cite Chiras at all; nor could
they rely on Chiras since it applies to textbook purchases, which are for curriculum.
58   Appellants’ Br. at 35-36.
59   Appellees’ Br. at 51-52.


                                           23
        Case: 23-50668     Document: 125-1       Page: 33   Date Filed: 11/17/2023




shelves at all. This labeling system is simply irreconcilable with the

historic function of school libraries to provide access to a broad and

diverse array of materials. And, as discussed, the system’s inevitable

removal of materials from library shelves, which are non-curricular

materials, must comport with the First Amendment.60

        C.     Forum analysis of school libraries is inapplicable
               because H.B. 900 imposes limitations on private
               vendors, not curriculum or student expression.

        Appellants also miss the mark in arguing that H.B. 900 does not

violate the First Amendment “because a public school library is a non-

public forum to which the State is allowed to control access.”61 To

support this argument, Appellants rely on two U.S. Supreme Court

rulings that are entirely distinguishable: Bethel School District No. 403

v. Fraser and Hazelwood School District v. Kuhlmeier.62




60   See Campbell, 64 F.3d at 191.
As Appellees note, the Supreme Court and other courts have held that government
mandates imposing private ratings systems are unconstitutional. Appellants Br. at
50-51 (citing Bantam Books v. Sullivan, 372 U.S. 58, 71 (1963)); see also Engdahl v.
City of Kenosha, 317 F. Supp. 1133 (E.D. Pa. 1970) (striking down as unconstitutional
an ordinance prohibiting the admission of unaccompanied children to films rated “R”
and “X”).
61   Appellants’ Br. at 37 (emphasis in original).
62   Bethel, 478 U.S. 675 (1986); Hazelwood, 484 U.S. 260 (1988).


                                            24
        Case: 23-50668     Document: 125-1     Page: 34   Date Filed: 11/17/2023




        In Bethel, the Supreme Court held that a school district had

authority to punish a student for his conduct, which involved him giving

an offensive speech at a school assembly, which the court deemed to be a

school-sponsored activity.63 And in Hazelwood, the Supreme Court held

that the removal of student-written articles from a school newspaper by

faculty due to concerns over the nature of the content was permissible,

because the student newspaper was a curriculum-based activity.64

Appellants argue this means that educators are permitted to “‘exercise

greater control over’ speech in a school environment.”65 But Appellants

stop short of providing the full quotation from the Court in Hazelwood,

which states that “[e]ducators are entitled to exercise greater control over

this [] form of student expression.”66

        The book labeling imposed by H.B. 900 is neither a matter of

student expression at a school-sponsored activity nor a curriculum-based

activity. H.B. 900 imposes limitations on private vendors by compelling

them to label the books they wish to sell to school libraries. And H.B. 900



63   Bethel, 478 U.S. at 685-86.
64   Hazelwood, 484 U.S. at 269-70.
65   Appellants’ Br. at 38 (quoting Hazelwood, 484 U.S. at 271-72).
66   Hazelwood, 484 U.S. at 271 (emphasis added).


                                          25
        Case: 23-50668      Document: 125-1    Page: 35     Date Filed: 11/17/2023




applies only to non-curriculum materials—the materials on the school

library shelves.67 By its terms, H.B. 900 seeks to place limitations on

non-curriculum material based on its content―the vaguely defined

“sexually explicit material” and “sexually relevant material.”68

        While the government has broad discretion to select private entities

to communicate its message through curriculum (such as controlling the

content of textbooks), the government cannot impose viewpoint-based

limitations on private entities simply because public funds are used to

subsidize private entities’ messages—or, in this case, to purchase books

from a school library.69 And viewpoint discrimination is impermissible

in any forum.70

        In short, because neither curriculum nor student expression is at

issue in H.B. 900’s imposition of labeling requirements, forum analysis is

inapplicable.




67   TEX. EDUC. CODE § 35.001(3).
68   Id. §§ 35.001(2)-(3), 35.002(a).
69 See Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 833 (1995)
(holding that public university could not withhold funds for printing of a student
publication based on the publication’s content).
70   Hobbs v. Hawkins, 968 F.2d 471, 481 (5th Cir. 1992).


                                          26
     Case: 23-50668   Document: 125-1    Page: 36   Date Filed: 11/17/2023




                            CONCLUSION

     For the foregoing reasons, amici curiae respectfully pray that the

district court’s preliminary injunction be AFFIRMED.




                                    27
    Case: 23-50668   Document: 125-1    Page: 37   Date Filed: 11/17/2023




Dated: November 17, 2023        Respectfully submitted,

                                s/ Thomas F. Allen, Jr.
                                Thomas F. Allen, Jr.
                                Benjamin A. West
                                FROST BROWN TODD LLP
                                2101 Cedar Springs Rd., Suite 900
                                Dallas, Texas 75201
                                T: (214) 545-3472
                                F: (214) 545-3473
                                tfallen@fbtlaw.com
                                bwest@fbtlaw.com

                                Kevin Shook
                                FROST BROWN TODD LLP
                                10 W. Broad Street
                                Suite 2300
                                Columbus, Ohio 43215
                                T: (614) 464-1211
                                F: (614) 464-1737
                                kshook@fbtlaw.com

                                Ryan W. Goellner
                                FROST BROWN TODD LLP
                                3300 Great American Tower
                                301 E. Fourth Street
                                Cincinnati, Ohio 45202
                                T: (513) 651-6800
                                F: (513) 651-6981
                                rgoellner@fbtlaw.com

                                Counsel for Amici Curiae
                                Freedom to Read Foundation and
                                American Association of School
                                Librarians




                                   28
     Case: 23-50668   Document: 125-1    Page: 38   Date Filed: 11/17/2023




                  CERTIFICATE OF COMPLIANCE

      This document complies with the word limit of FED. R. APP. P.
29(a)(5) and 32(a)(7)(b) because, excluding the parts of the document
exempted by FED. R. APP. P. 32(f), this document contains 4,747 words.

      This document complies with the typeface requirements of FED. R.
APP. P. 32(a)(5) and the type-style requirements of FED. R. APP. P. 32(a)(6)
because this document has been prepared in a proportionally spaced
typeface using Microsoft Word in 14-point Century Schoolbook font, with
the exception of footnotes, which are in 12-point Century Schoolbook font
pursuant to 5TH CIR. R. 32.1.


                                               s/ Benjamin A. West
                                               Benjamin A. West




                                    29
        Case: 23-50668              Document: 125-1    Page: 39   Date Filed: 11/17/2023




                                    CERTIFICATE OF SERVICE

     I hereby certify that on November 17, 2023, the foregoing brief of
amici curiae was electronically submitted to the Clerk of the Court of the
United States Court of Appeals for the Fifth Circuit using the Court’s
ECF system, which sent a Notice of Electronic Filing to all registered
counsel.
                                                             s/Benjamin A. West
                                                             Benjamin A. West




0153838.0770563 4861-1494-4398v18

                                                  30
